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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

YVONNE FROST,
                              Plaintiff,
                                                              20-CV-9315 (CM)
                     -against-
                                                              ORDER
TRINIDAD GOVERNMENT, ET AL.,
                              Defendants.

COLLEEN McMAHON, Chief United States District Judge:

         The Court denies Plaintiff leave to file this action because she fails to show that her

claims are not frivolous. See Frost v. NYPD, ECF 1:20-CV-0417, 5 (S.D.N.Y. Feb. 14, 2020)

(requiring Plaintiff to submit with any new complaint: a motion for leave to file; a copy of the

February 14, 2020 order; the relevant fees or an in forma pauperis application; and a statement,

made under penalty of perjury, stating that the claims are not frivolous or in bad faith, that the

lawsuit is not brought for any improper purpose, such as to harass or cause unnecessary delay,

and that the filing complies with this Court’s orders, the Federal Rules of Civil Procedure, and

this Court’s Local Rules).

         The Court directs the Clerk of Court to terminate any pending motions and close this

action. Plaintiff has consented to electronic service of Court documents. (ECF No. 5.)

SO ORDERED.

Dated:     November 9, 2020
           New York, New York

                                                             COLLEEN McMAHON
                                                         Chief United States District Judge
